Case 2:20-cv-04719-MWF-RAO Document 44 Filed 11/29/21 Page 1 of 1 Page ID #:218




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   5                               UNITED STATES DISTRICT COURT
   6             CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   7
   8 MITCHEL ZOHNER,                                 Case No. CV 20-04719 MWF (RAOx)
   9                      Plaintiff,                 ORDER OF DISMISSAL OF
                                                     ENTIRE ACTION AND ALL
  10             v.                                  CLAIMS WITH PREJUDICE
  11 CITY OF TORRANCE, a public entity;
     DAVID CHANDLER; BRANDEN
  12 NAKASHIMA; MARK PITTMAN;
     and DOES 1 through 10, inclusive,,
  13
               Defendants.
  14
  15            FOR GOOD CAUSE SHOWING IT IS HEREBY ORDERED:
  16            Based upon the joint stipulation of the parties and good cause showing, the
  17 entire action and all of plaintiff's claims are dismissed, with prejudice, including all
  18 claims brought against Defendants CITY OF TORRANCE, a public entity; DAVID
  19 CHANDLER; BRANDEN NAKASHIMA; and MARK PITTMAN (Defendants) in
  20 their entirety. This dismissal constitutes a mutual waiver of all costs, court fees, and
  21 attorneys’ fees arising out of claims between plaintiff and defendant.
  22            IT IS SO ORDERED.
  23
  24 DATED: November 29, 2021
                                             MICHAEL W. FITZGERALD
  25                                         United States District Judge
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       4886-4667-7252.1
                  ORDER OF DISMISSAL OF ENTIRE ACTION AND ALL CLAIMS WITH PREJUDICE
